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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      07-24M
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    EDWARD MARTINEZ,             )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Count I:      Distribution of Cocaine, in violation of Title 21, U.S.C., Sections
18                          841(a)(1) and 841(b)(1)(A), and Title 18, U.S.C., Section 2.
19   Date of Detention Hearing: January 26, 2007
20            The Court, having conducted a contested detention hearing pursuant to Title 18
21   U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
22   hereafter set forth, finds that no condition or combination of conditions which the defendant
23   can meet will reasonably assure the appearance of the defendant as required and the safety
24   of any other person and the community. The Government was represented by Jill Otake.
25   The defendant was represented by Michele Shaw.
26


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 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause to believe the defendant committed the crime of
 3               distribution of cocaine, a drug offense. The maximum penalty is in
 4               excess of ten years. There is therefore a rebuttable presumption against
 5               the defendant’s release based upon both dangerousness and flight risk,
 6               under Title 18 U.S.C. § 3142(e).
 7         (2)   Nothing in this record satisfactorily rebuts the presumption against
 8               release for several reasons. Under Title 18 § 3142 (g), the Court
 9               considered the following:
10               (a)    The nature and circumstances of the offense charged including the
11                      allegation that he is associated with a “gang” involved in drug
12                      distribution. His association is believed to exist, in part, due to
13                      Defendant’s tattoos which refer to a gang in California and its
14                      derivative in Yakima, Washington where the defendant lives.
15               (b)    The weight of the evidence including: recorded undercover
16                      surveillance. The defendant along with the co-defendant were
17                      recorded as having possession of and referring to the
18                      transportation of cocaine. He later admitted the offense to law
19                      enforcement. The risk of a drug conspiracy and evidence derived
20                      from surveillance support finding a risk of danger.
21               (c)    The history and characteristics of the person. Defendant is further
22                      viewed as a risk of danger due to his alleged gang affiliation and
23                      its criminal conduct. Although his mother spoke in court about
24                      Defendant’s employment in the family business, an automobile
25                      repair shop, law enforcement believes the repair shop to be
26                      associated with Yakima’s drug trafficking.


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 1 Based upon the foregoing information, there is no condition or combination of
 2 conditions that would reasonably assure future Court appearances and/or the safety of
 3 other persons or the community.
 4           It is therefore ORDERED:
 5           (l)   The defendant shall be detained pending trial and committed to the
 6                 custody of the Attorney General for confinement in a correction facility
 7                 separate, to the extent practicable, from persons awaiting or serving
 8                 sentences or being held in custody pending appeal;
 9           (2)   The defendant shall be afforded reasonable opportunity for private
10                 consultation with counsel;
11           (3)   On order of a court of the United States or on request of an attorney for
12                 the Government, the person in charge of the corrections facility in which
13                 the defendant is confined shall deliver the defendant to a United States
14                 Marshal for the purpose of an appearance in connection with a court
15                 proceeding; and
16           (4)   The clerk shall direct copies of this order to counsel for the United
17                 States, to counsel for the defendant, to the United States Marshal, and to
18                 the United States Pretrial Services Officer.
19           DATED this 29th day of January, 2007.
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22
                                                      A
                                                      MONICA J. BENTON
23                                                    United States Magistrate Judge

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     DETENTION ORDER
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